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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA FILED
OCALA DIVISION one Alay [oy

CLERK, U.S. DISTRICT COURT

UNITED STATES OF AMERICA MIDDLE DISTRICT of FLORIDA
OCALA, FLORIDA

+. CASE NO. 5:24-cr- ¥@-TOEB- PLL
18 U.S.C. § 111 (a)

MARTIN PEDRO

INDICTMENT

The Grand Jury charges:

COUNT ONE

On or about June 28, 2023, in the Middle District of Florida, the defendant,
MARTIN PEDRO,
did knowingly and forcibly assault, resist, oppose, impede, and interfere with a
person, F.H., an employee of the United States Department of Justice, Federal
Bureau of Prisons, and a person designated in 18 U.S.C. § 1114, while that person
was engaged in and on account of the performance of his official duties, and the act
described above did involve physical contact with the employee of the United States

Department of Justice and person designated in 18 U.S.C. § 1114.
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In violation of 18 U.S.C. § 111(a)

A TRUE BILL,

Foreperson

ROGER B. HANDBERG
United States Attorney

arah Janette Swartzb
Asgjstant United States Attorney

Robert E. Bodnar, Jr.
Assistant United States Attorney
Chief, Ocala Division
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